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                                                                    Filed: December 7, 2023

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                             ________________________________

                                INFORMAL BRIEFING ORDER
                             _________________________________

        No. 23-2267,        Leonard Carroll v. Kendra Ross
                            1:23-cv-00057-TSK-MJA

        This case has been placed on the court's docket under the above-referenced
        number, which should be used on papers subsequently filed in this court. The case
        shall proceed on an informal briefing schedule pursuant to Local Rule 34(b). The
        Informal Brief Form is attached. Informal briefs shall be served and filed within
        the time provided in the following schedule. Only the original informal brief is
        required; no copies need be filed unless requested by the court.

        Informal opening brief due: 01/02/2024

        Informal response brief permitted within 14 days after service of informal opening
        brief (filing of an informal response brief is not required).

        Informal reply brief permitted within 10 days after service of informal response
        brief, if any.

        If the informal opening brief is not served and filed within the scheduled time, the
        case will be subject to dismissal pursuant to Local Rule 45 for failure to prosecute.
        Extensions of briefing deadlines are not favored by the court and are granted only
        for good cause stated in writing.

        The court will not consider issues that are not specifically raised in the informal
        opening brief. If a transcript is necessary for consideration of an issue, appellant
        must order the transcript within 14 days of filing the notice of appeal, using the
        court's Transcript Order Form. Parties who qualify to proceed without
        prepayment of fees and costs may apply for preparation of the transcript at
        government expense. In direct criminal appeals in which the appellant has waived
        the right to counsel and elected to proceed pro se, the motion for transcript at
        government expense is filed in the Court of Appeals and transcript is ordered by
        the Court of Appeals. In other cases, the motion should be filed in the district court
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        in the first instance and must be accompanied by the requisite demonstration of a
        particularized need for the transcript to decide non-frivolous issues presented on
        appeal. The motion may be renewed in the Court of Appeals and must be
        accompanied by the informal brief.

        The Court of Appeals reviews the district court or agency record in informally
        briefed cases. Therefore, no appendix is necessary. District court records are
        available to the parties through the Public Access to Court Electronic Records
        (PACER) system. See https://www.pacer.gov. Agency records are filed with the
        court of appeals in electronic or paper form. The parties may make advance
        arrangements to review agency records in pending appeals in the clerk's office.

        The court will not appoint counsel or schedule a case for oral argument unless it
        concludes, after having reviewed the informal opening brief, that the case cannot
        be decided on the basis of the informal briefs and the record.

        Counsel filing an informal brief on behalf of appellee must also complete and file
        an Appearance of Counsel form. Counsel for appellee will not appear on the
        court's opinion if an Appearance of Counsel form is not filed with the court.

        Parties in civil and agency appeals must file a Disclosure Statement within 14
        days of the informal briefing order, except that a disclosure statement is not
        required from the United States, from indigent parties, or from state or local
        governments in pro se cases.

        Parties are responsible for ensuring that social security numbers, juvenile names,
        dates of birth, and financial account numbers are redacted from any documents
        filed with the court and that any sealed materials are filed in accordance with the
        enclosed Memorandum on Sealed and Confidential Materials.

        Attorneys are required to file electronically in the Fourth Circuit. Information on
        obtaining an electronic filer account is available at www.ca4.uscourts.gov.

        To qualify as a pro se electronic filer, a pro se litigant must obtain a PACER
        account and request filing privileges with the Fourth Circuit through their PACER
        account. Registration for a non-attorney e-filer account through PACER can be
        completed at https://pacer.psc.uscourts.gov/pscof/regWizard.jsf.

                                         /s/ NWAMAKA ANOWI, CLERK
                                         By: Anisha Walker, Deputy Clerk
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        Copies: Leonard Carroll
                1213 Cash Valley Road
                Eglon, WV 26716

                Stephanie Carroll
                1213 Cash Valley Road
                Eglon, WV 26716

                Brooks H. Spears
                MCGUIREWOODS, LLP
                1750 Tysons Boulevard
                Suite 1800
                Tysons Corner, VA 22102-3915
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         UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT


                            DIRECTIONS FOR INFORMAL BRIEF

        1. Preparation of Brief. The Court will consider this case according to the written
        issues, facts, and arguments presented in the Informal Briefs. Space is provided to
        present up to four issues. Additional issues may be presented by attaching
        additional sheets. The Court will not consider issues that are not specifically raised
        in the Informal Briefs. Informal Briefs must be legible and concise, and any
        attached pages must be sequentially numbered. Informal Briefs may be filed on the
        form provided or in memorandum or formal briefing format. The informal brief
        and any supporting memorandum may not exceed the length limitations of formal
        briefs (up to 30 pages if handwritten or prepared on a typewriter, pursuant to Local
        Rule 34(b)).

        2. Copies required.
           • File the original of the Informal Brief with the Court. If you would like a file
              stamped copy returned, send an extra copy and a self-addressed stamped
              envelope. The Court's address is:

                     Clerk
                     U.S. Court of Appeals, Fourth Circuit
                     1100 East Main Street, 5th Floor
                     Richmond, VA 23219
           •   Send one copy of your Informal Brief to each of the parties in the case.

        3. Certificate of Service Required. You must certify that you sent each of the
        other parties or attorneys complete copies of all documents you send the Court.
        Service on a party represented by counsel shall be made on counsel.

        4. Signature Required. You must sign your Informal Brief and all Certificates of
        Service. If the Informal Brief is not signed, the case will be subject to dismissal
        under this Court's Local Rule 45.

           DOCUMENTS ARE SCANNED INTO ELECTRONIC FORM AND POSTED TO
                THE DOCKET. DO NOT USE STAPLES, TAPE OR BINDING.
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          UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                         INFORMAL BRIEF
        No. 23-2267, Leonard Carroll v. Kendra Ross
                         1:23-cv-00057-TSK-MJA
        1. Declaration of Inmate Filing
        An inmate's notice of appeal is timely if it was deposited in the institution's internal
        mail system, with postage prepaid, on or before the last day for filing. Timely
        filing may be shown by:
            • a postmark or date stamp showing that the notice of appeal was timely
               deposited in the institution's internal mail system, with postage prepaid, or
            • a declaration of the inmate, under penalty of perjury, of the date on which
               the notice of appeal was deposited in the institution's internal mail system
               with postage prepaid. To include a declaration of inmate filing as part of
               your informal brief, complete and sign the declaration below:
                                         Declaration of Inmate Filing

           Date NOTICE OF APPEAL deposited in institution's mail system: _________________

           I am an inmate confined in an institution and deposited my notice of appeal in the
           institution's internal mail system. First-class postage was prepaid either by me or by the
           institution on my behalf.

           I declare under penalty of perjury that the foregoing is true and correct (see 28 U.S.C. §
           1746; 18 U.S.C. § 1621).

           Signature: _______________________________               Date: ______________________
           [Note to inmate filers: If your institution has a system designed for legal mail, you must
           use that system in order to receive the timing benefit of Fed. R. App. P. 4(c)(1) or Fed.
           R. App. P. 25(a)(2)(A)(iii).]




        2. Jurisdiction
        Name of court or agency from which review is sought:

        Date(s) of order or orders for which review is sought:

        3. Issues for Review
        Use the following spaces to set forth the facts and argument in support of the issues
        you wish the Court of Appeals to consider. The parties may cite case law, but
        citations are not required.
        Issue 1.
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        Supporting Facts and Argument.




        Issue 2.

        Supporting Facts and Argument.




        Issue 3.

        Supporting Facts and Argument.




        Issue 4.

        Supporting Facts and Argument
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        4. Relief Requested
        Identify the precise action you want the Court of Appeals to take:




        5. Prior appeals (for appellants only)
        A. Have you filed other cases in this court? Yes [ ] No [ ]

        B. If you checked YES, what are the case names and docket numbers for those
        appeals and what was the ultimate disposition of each?




        _________________________
        Signature
        [Notarization Not Required]

        _________________________
        [Please Print Your Name Here]
                                 CERTIFICATE OF SERVICE
                                    **********************
        I certify that on ____________ I served a copy of this Informal Brief on all parties,
        addressed as shown below:



        _________________________
        Signature

                             NO STAPLES, TAPE OR BINDING PLEASE
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                   SEALED & CONFIDENTIAL MATERIALS
        Internet Availability of Docket & Documents

        Fourth Circuit case dockets and documents are available on the Internet via the
        Judiciary's PACER system (Public Access to Court Electronic Records). The
        Fourth Circuit docket is available on the Internet even if the district court docket
        was sealed. If a party's name was sealed in the district court, it should be replaced
        by "Under Seal" or a pseudonym on appeal.

        Due to the electronic availability of court documents, the federal rules prohibit
        including certain personal data identifiers in court filings. In addition, parties
        should not include any data in their filings that they would not want on the
        Internet. Counsel should advise their clients on this subject so that an informed
        decision can be made. Responsibility rests with counsel and the parties, not with
        the clerk.

        Documents filed by the parties in immigration, social security, and railroad
        retirement board cases are not accessible over the Internet to the public. Public
        Internet access is limited to the court's docket, orders, and opinions in these cases.
        Parties wishing to prevent their full names from appearing in court documents,
        including opinions available on the Internet, may file a motion to redact their name
        to use only their first name and last initial rather than their full name.

        Federal Rules of Procedure

        The federal rules of procedure require filers to redact any of the following personal
        data identifiers (PDIs) if included in court filings: (1) social security and tax ID
        numbers must be limited to last four digits; (2) minor children must be identified
        by their initials only; (3) dates of birth must show the year only; (4) financial
        account numbers must be limited to the last four digits only; and (5) home
        addresses in criminal cases must be limited to city and state only. The federal rules
        establish limited exceptions to these redaction requirements. See Fed. R. App. P.
        25(a)(5); Fed. R. Civ. P. 5.2; Fed. R. Crim. P. 49.1; Fed. R. Bankr. P. 9037

        Judicial Conference Privacy Policy

        In addition, the judiciary's regulation on Privacy Policy for Electronic Case Files
        prohibits filers from including any of the following criminal documents in the
        public file: (1) unexecuted summonses or warrants; (2) bail or presentence reports;
        (3) statement of reasons in judgment of conviction; (4) juvenile records; (5)
        identifying information about jurors or potential jurors; (6) CJA financial
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        affidavits; (7) ex parte requests to authorize CJA services and (8) any sealed
        documents, such as motions for downward departure for substantial assistance,
        plea agreements indicating cooperation, or victim statements. Any reference to
        substantial assistance or cooperation with the government in criminal proceedings
        should be sealed in the parties' briefs.

        Local Rule 25(c)

        Local Rule 25(c) limits the sealing of documents by requiring that sealed record
        material be separated from unsealed material and placed in a sealed volume of the
        appendix and by requiring the filing of both sealed, highlighted versions and
        public, redacted versions of briefs and other documents.

        Since the ECF events for sealed filings make the documents accessible only to the
        court, counsel must serve sealed documents on the other parties outside ECF.

        Sealed Volume of Appendix

        If sealed record material needs to be included in the appendix, it must be placed in
        a separate, sealed volume of the appendix and filed with a certificate of
        confidentiality. In consolidated criminal cases in which presentence reports are
        being filed for multiple defendants, each presentence report must be placed in a
        separate, sealed volume served only on Government counsel and counsel for the
        defendant who is the subject of the report.

           •   Use ECF event-SEALED JOINT APPENDIX (court access) and
               SEALED SUPPLEMENTAL APPENDIX (court access) to file sealed
               electronic appendix volume(s). Cover of sealed appendix volume must be
               marked SEALED, and paper copies must be placed in envelopes marked
               SEALED. Sealed volume must be served on other parties outside ECF.
           •   Use ECF event-Certificate of confidentiality to identify authority for
               treating material as sealed and to identify who may have access to sealed
               material. A paper copy of the certificate of confidentiality must accompany
               the paper copy of the sealed appendix filed with the court.
           •   Use ECF event-JOINT APPENDIX and SUPPLEMENTAL APPENDIX
               to file public electronic appendix volumes(s).

        Sealed Version of Brief

        If sealed material needs to be referenced in a brief, counsel must file both a sealed,
        highlighted version of the brief and a public, redacted version of the brief, as
        well as a certificate of confidentiality.
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           •   Use ECF event-SEALED BRIEF (court access)(formal briefs under seal)
               to file sealed electronic version of brief in which sealed material has been
               highlighted. Cover of sealed brief must be marked SEALED, and paper
               copies must be placed in envelopes marked SEALED. Sealed version must
               be served on other parties outside ECF.
           •   Use ECF event-Certificate of confidentiality to identify authority for
               treating material as sealed and to identify who may have access to sealed
               material. A paper copy of the certificate of confidentiality must accompany
               the paper copy of the sealed brief filed with the court.
           •   Use ECF event-BRIEF (formal briefs not under seal) to file public
               electronic version of brief from which sealed material has been redacted.

        Sealed Version of Motions and Other Documents

        If sealed material needs to be referenced in a motion or other document, counsel
        must file both a sealed, highlighted version and a public, redacted version, as
        well as a certificate of confidentiality.

           •   Use ECF event-SEALED DOCUMENT to file sealed electronic version of
               document in which sealed material has been highlighted. First page of
               document must be marked SEALED. Sealed version must be served on other
               parties outside ECF.
           •   Use ECF event-Certificate of confidentiality to identify authority for
               treating material as sealed and to identify who may have access to sealed
               material.
           •   Use the appropriate ECF event (e.g., MOTION or RESPONSE/ANSWER)
               to file public electronic version of document from which sealed material has
               been redacted.

        Motions to Seal

        A certificate of confidentiality may be used to request sealing of information
        protected by the Privacy Policy for Electronic Case Files, or by statute, rule,
        regulation, or order. To request sealing of other materials, or to request sealing of
        an entire brief or motion due to inability to create a public, redacted version,
        counsel must file a motion to seal.

        The motion to seal must appear on the public docket for five days. The motion
        must identify the document or portions thereof for which sealing is requested, the
        reasons why sealing is necessary, the reasons a less drastic alternative will not
        afford adequate protection, and the period of time for which sealing is required. If
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        it is necessary to reference sealed material in the motion, a sealed, highlighted
        version and a public, redacted version of the motion must be filed.

        Highly Sensitive Documents

        The court has adopted Standing Order 21-01 implementing procedures adopted by
        the Federal Judiciary for the filing of highly sensitive sealed documents in paper
        form, accompanied by a certificate (for material sealed by the district court or other
        tribunal) or motion (for requests to file material under seal in the first instance).

        Forms: Certificate of Confidentiality & Certificate for Highly Sensitive Document
        Protection

        Instructions: How do I redact items from pleadings? (Marking out text in a word
        processing document using a highlighter or box tool does not remove sensitive data
        from the document.)
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                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                             ________________________________

                               CHANGE OF ADDRESS (PRO SE)
                             _________________________________

        No. 23-2267,    Leonard Carroll v. Kendra Ross
                        1:23-cv-00057-TSK-MJA

        If your address changes, it is your obligation to notify the clerk. If your address
        changes and you do not notify the clerk, we will not be responsible for your failure
        to receive documents from the court.

        THE CLERK IS HEREBY NOTIFIED THAT MY ADDRESS SHOULD BE
        CHANGED TO:

        Name:
        Street/P. O. Box:
        City/State/ZIP:
        Telephone Number:
        Prison (if applicable):
        Prisoner's Reg. No. (if applicable):
        Release Date (if applicable):
        Effective Date for Change of Address:
        Signature:
